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 6   Attorneys for Defendant,
     CITY OF OAKLAND
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 9                              UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12

13   CITY and COUNTY of SAN FRANCISCO,               Case No. 3:24-cv-02311-TSH
14                     Plaintiff,                    DEFENDANT CITY OF OAKLAND’S
                                                     NOTICE OF MOTION AND MOTION
15   v.                                              FOR SUMMARY JUDGMENT
16   CITY of OAKLAND and PORT OF OAKLAND,            Date: December 5, 2024
                                                     Time: 10 a.m.
17                     Defendants.                   Courtroom: E – 15th Floor
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     DEFENDANT CITY OF OAKLAND’S NOTICE OF MOTION                            3:24-cv-02311-TSH
     AND MOTION FOR SUMMARY JUDGMENT
        Case 3:24-cv-02311-TSH           Document 69        Filed 10/30/24      Page 2 of 2



 1                        NOTICE OF MOTION AND MOTION TO DISMISS

 2          PLEASE TAKE NOTICE that on December 5, 2024, at 10 a.m., or as soon thereafter as the

 3   matter may be heard, in the United States District Court, Northern District of California, Courtroom

 4   E, 15th Fl., at the San Francisco Courthouse, 450 Golden Gate Ave., San Francisco, California,

 5   94102, before the Honorable Magistrate Judge Thomas S. Hixson, Defendant City of Oakland will

 6   move the Court for an order dismissing Plaintiff City and County of San Francisco’s First, Second,

 7   and Third Causes of Action for lack of dispute as to any material fact under Rule 56(a) Federal

 8   Rules of Civil Procedure. This motion is based on this Notice of Motion and Motion, the

 9   accompanying Memorandum of Points and Authorities, the Request for Judicial Notice and the

10   other documents filed in connection with this motion, any records or documents on file in this

11   action, and any other written or oral argument as may be presented to the Court.

12                                           RELIEF SOUGHT

13          Defendant City of Oakland seeks an order dismissing Plaintiff’s First, Second, and Third

14   Causes of Action against the City for lack of dispute as to any material fact under Federal Rule of

15   Civil Procedure 56(a).

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18   Dated: October 30, 2024                BARBARA J. PARKER, City Attorney

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                                      By:
20                                          Christina Lum, Deputy City Attorney
                                            Attorneys for Defendant,
21                                          CITY OF OAKLAND

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      DEFENDANT CITY OF OAKLAND’S NOTICE OF MOTION                                        3:24-cv-02311-TSH
      AND MOTION FOR SUMMARY JUDGMENT
